                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

In Re:                                                )
                                                      )
ROGER H. BEDFORD, JR.,                                )        CASE NO. 19-80103-CRJ7
                                                      )
                  Debtor.                             )
---------------------------------------------------------------------------------------------------------------------
TCO SUPPLIES, LLC,                                    )
                                                      )
                  Plaintiff,                          )
                                                      )
v.                                                    )        A.P. NO. 19-80022-CRJ
                                                      )
ROGER H. BEDFORD, JR.,                                )
                                                      )
                  Defendant.                          )


                   MOTION TO DISMISS ADVERSARY PROCEEDING

         Comes now the defendant, Roger H. Bedford, Jr. (“Bedford”), pursuant to Rules

12(b)(6) and 9(b) of the Federal Rules of Civil Procedure, made applicable to this

proceeding by Rules 7012(b) and 7009 of the Federal Rules of Bankruptcy Procedure, and

moves to DISMISS the above-captioned adversary proceeding filed on behalf of TCO

Supplies, LLC (“TCO”). As will be set forth more fully in a separate brief, this adversary

proceeding should be dismissed on the following grounds:

         1.       The Complaint fails to plead fraud with particularity as required by Rule 9(b)

of the Federal Rules of Civil Procedure, as it fails to indicate the time, place and

circumstance of any specific fraudulent misrepresentation or suppression by Bedford.

         2.       Count II of the Complaint fails to indicate a confidential relationship,

                                                         1




Case 19-80022-CRJ             Doc 3      Filed 05/24/19 Entered 05/24/19 23:55:52                      Desc Main
                                         Document      Page 1 of 3
superior knowledge, or other legal basis for a duty of disclosure on the part of Bedford.

           3.       The Complaint provides no basis for any fiduciary relationship or fiduciary

duty owed by Bedford to support a claim of fraud or defalcation while acting in a fiduciary

capacity.

           4.       The Complaint contains insufficient facts to support an allegation of

embezzlement.

           5.       The Complaint contains insufficient facts to support an allegation of larceny.

           6.       The Complaint contains no description of any substantive role or active

participation of Bedford in the operations of Valley Lumber, 1 nor does it specify any

benefit derived by Bedford from the actions of Valley Lumber.

           7.       While TCO seems to speculate that the actions of Valley Lumber were “at

the direction of Bedford and others” or were “overseen by Bedford”, TCO provides no

factual support for such allegations. Moreover, TCO has filed a virtually identical

Complaint containing identical allegations against Steve Hammack, accusing another

person of the exact same acts.

           For the foregoing reasons, Bedford moves to dismiss this action in its entirety for

failure to state a claim for which relief can be granted.


                                                                  /s/ Brenton K. Morris
                                                                  Brenton K. Morris (MOR103)
                                                                  ASB: 8119-R46B

1
    In his testimony at the first meeting of creditors, Bedford denied any such participation.

                                                             2




Case 19-80022-CRJ                Doc 3       Filed 05/24/19 Entered 05/24/19 23:55:52            Desc Main
                                             Document      Page 2 of 3
OF COUNSEL:

BENTON & CENTENO, L.L.P.
2019 Third Avenue North
Birmingham, Alabama 35203
Phone: (205)278-8000
Fax: (205)278-8005
Email: bmorris@bcattys.com

                              CERTIFICATE OF SERVICE

       I hereby certify that I have filed the foregoing using the Court’s electronic case filing
system which should result in service on all parties requesting electronic notification,
including the following, on this 24th day of May, 2019:

   G. Rick Hall, Esq.
   Douglas B. Hargett, Esq.
   Hall Tanner Hargett, P.C.
   Tuscumbia, AL 35674
   Email: rhall@halltanner.com
            dhargett@halltanner.com

   Kevin C. Gray, Esq.
   Andrew J. Shaver, Esq.
   Bradley Arant Boult Cummings LLP
   200 Clinton Ave. W., Ste. 900
   Huntsville, AL 35801
   Email: kgray@bradley.com
             ashaver@bradley.com

                                                   /s/ Brenton K. Morris
                                                   OF COUNSEL




                                               3




Case 19-80022-CRJ        Doc 3    Filed 05/24/19 Entered 05/24/19 23:55:52          Desc Main
                                  Document      Page 3 of 3
